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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


ALLAN SILBER,

             Plaintiff,                                 Docket No.: 1:15-CV-11787-IT

                 vs.

FAMILY ENDOWMENT PARTNERS, LP, MIP
GLOBAL, INC., and LEE D. WEISS,

             Defendants


       JOINT STATEMENT REGARDING PLAINTIFF’S UNOPPOSED MOTION
                   FOR PARTIAL SUMMARY JUDGMENT

           Pursuant to this Court’s Order of January 29, 2016 (Document No. 30), Plaintiff Allan

Silber (“Silber”) and defendants Family Endowment Partners, LP, MIP Global, Inc. and Lee D.

Weiss (collectively the “Parties”) hereby respond to the Court’s request on whether the Court

should defer ruling on Plaintiff’s Motion for Summary Judgment against Family Endowment

Partners, LP on Counts I and II (“the Motion”). The parties hereby represent that they are, in

good faith, still engaged in confidential settlement negotiations and respectfully request the

Court to defer ruling on the Motion until March 28, 2016. The Parties anticipate that their

settlement efforts will be finalized before or by March 28, 2016 and that no additional Court

resources will be needed.




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Dated: February 6, 2016

Respectfully Submitted,

/s/ David M. Belcher                               /s/ Nicole E Forbes
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Counsel for Plaintiff Allan Silber
                                                   Counsel for Family Endowment Partners,
                                                   LP, MIP Global, Inc. and Lee D. Weiss




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 6, 2016 I electronically filed the foregoing with the
Clerk for the United States District Court for the District of Massachusetts by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.




                                                   /s/Nicole E. Forbes __
                                                   Nicole E. Forbes




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